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IN THE UNITED STATES DISTRICT COURT MAY 102
FOR THE EASTERN DISTRICT OF VIRGINIA a ai
Richmond Division ERK US. DISTR

 

 

 

 

 

 

 

 

 

JOHN COREY FRASER, et al., on behalf
of themselves and all others
similarly situated as a Class,
Plaintiff,
Vv. No. 3:22-cv-410
BUREAU OF ALCOHOL, TOBACCO,

FIREARMS AND EXPLOSIVES, et al.,

Defendants.

ORDER
For the reasons set forth in the accompanying Memorandum
Opinion, it is hereby ORDERED that:
(1) DEFENDANT’S MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED
COMPLAINT (ECF No. 21) is denied; and
(2) PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT (ECF No. 28) is
granted.

It is SO ORDERED.

/s/ Ef!
Robert E. Payne

Senior United States District Judge

Richmond, Virginia
Date: May /}0, 2023
